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                                UNITED STATES D ISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA

                           CA SE N O.0;l7-60907-C1V-M OM NO/SELTZER


    FEDERAL TR ADE COM M ISSION ,etal.,

           Plaintiffs,


    JEREM Y LEE M A RCUS,eta1.,

           Defendants.


           O RDER G RANTIN G RECEIVER 'S FO URTH M O TIO N FO R AW ARD O F
              PRO FESSIONA L FEES A ND REIM BUR SEM ENT O F EXPENSES

           TH IS CAUSE came before the Court tlpon Jonathan E. Perlm an, Esq.'s, the court-

    appointed Receiver(theSsReceiver'')forthe Receivership Entities,'Fourth M otion forAward of
    Professional Fees and Reimbursement of Expenses (ECF No i!V
                                                              e'-1 (the içyourth Fee
                                                                        .



    Application'),filedcm June18.2019.
            TheCourthasconsidered the Fourth FeeApplication,thepertinentportionsoftherecord,

    and being otherwise fully advised in theprem ises,itis


    1Receivership Entitiesare FinancialFreedom National,lnc.f/k/alnstitute forFinancialFreedom,lnc,and
    M arine Careerlnstitute Sea Frontiers,Inc.d/b/a 321 Loans,lnstahelp America,lncv,Helping America
    Group,United Financial Support, Breezc FinancialSolutions,3zlFinancialEducation,Credit Health
    Plan, Credit Specialists of Am erica, American Advocacy Alliance, and Associated Administrative
    Services,321Loans,Inc.,f/k/a 321 Loans,lnc.d/b/a 32lFinancial,lnc.,lnstahelp America,lnc.f/lda
    Helping America Team ,lnc.d/b/aHelping AmericaGroup,Breeze FinancialSolutions,lnc.d/b/a Credit
    Health Plan and CreditM aximizing Program,US LegalClub,LLC,Active DebtSolutions,LLC f/k/a
    Active Debt Solutions, lnc.d/b/a Guardian Legal Center,Guardian LG, LLC d/b/a Guardian Legal
    Group,American CreditSecurity,LLC f/k/aAmerica CreditShield,LLC,ParalegalSupportGroup LLC
    f/kz/
        a Paralegal SupportLLC, Associated Administrative Services, LLC d/b/a Jobfax, Cockburn &
    Associate LLC,JLM JP Pompano,LLC,Halfpay lnternational,LLC,Halfpay N V,LLC,HP Properties
    Group, lnca, HP M edia, lnc., Omni M anagem ent Partners, LLC,Nantucket Cove of lllinois, LLC,
    DiscountM arketing USA,S.A.,Viking M anagem entServices,LLC,W hite LightM edia LLC,Blue42,
    LLC,NationalAnns,LLC,and 110 Glouchester St.,LLC,and their divisions,subsidiaries,affiliates,
    predecessors,successors,andassigns.(ECF Nos.21,102,222,2861.
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            ADJUDG ED that the m otion is GRANTED . The Fourth Fee Application is

    APPR OVED .

            ADJUDG ED that the Receiver and G enovese Joblove & Battista, P.A .'S fees of

    $427,918.75 and expenses of$17,754.07 are APPROVED. The Receiverisauthorized to pay
    Genovese Joblove & Battista,P.A.the sum of$445,672.82,representing 100% ofthe approved

    fees($427,918.75)and 100% ofexpenses($17,754.07)incurredduringtheApplicationPeriodof
    O ctober 1,2018 through February 28,2019.

            ADJUDG ED that the Receiver is authorized to pay KapilaM ukam al the sum of

    $29,105.52, representing 100% ofthe approved fees ($28,687.38) and 100% of expenses
    ($417.69)incurred duringtheApplicationPeriodofOctober1,2018through February28,2019.
            ADJUDG ED that the Receiver is authorized to pay M cBrayer, M cG innis, Leslie &

    Kirkland PLLC $53,857.20 in feesand $ -0-in costs incurred during the Application Period of
    October1,20l8through February28,2019.                                  r
            DONEandORDEREDi
                          n                        atMiami,Flori
                                                               dathisJ day
    2019.




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                                                    UNITED ATES D ISTRICT JUD GE


    cc:Allcounselofrecord
